AO 440 (Rev. 06/12) Summons in a Civil Action



                                       United States District Courtfor the
                                                                                                              RECEIVED
                                                       Eastern District of Tennessee                                    JUL 1 5 im

                      MIKAYLA EVANS
                                                                                                               Clerk, U. S. District Court
                                                                      )                                      Eastern Discict of Tennessee
                                                                      )                                                 At Knoxville
                                                                      )
                                                                      )
                            PlaitniJJ'(s)                             )
                                                                      )
                                 V.                                           Civil Action No. 2:24-cv-106
                                                                      )
                   JOHNSON CITY, et al.
                                                                      )
                                                                      )
                                                                      )
                                                                      )
                           Defendaul(s)                               )

                                                  SUMMONS IN A CIVTT. ACTION


To; (DefeiidaiU’s name ami address)
                                        Johnson City
                                        c/o City Attorney Sunny Sandez or Mayor Todd Fowler
                                        601 E. Main Street
                                        Johnson City, TN 37601




         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you '
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                        Robert Dziewulski
                                        Ashleigh Beer-Vineyard
                                        DZ Law, PLLC
                                        800 S. Gay Street, Suite 2131
                                        Knoxville, TN 37929



        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint,
You also must file your answer or motion with the court.



                                                                                 CLERiyO/- COURT


Date:      06/21/2024

                                                                                           Signature of Clerk or USpatjiJSl-.

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     Case 2:24-cv-00106-JRG-CRW                        Document 5-2          Filed 06/21/24    Page 1 of 2          PagelD#:50
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Civil Action No. 2:24-cv-106


                                                           PROOF OF SERVICE

                       (This section should not be ifled with the court unless required by Fed. R. Civ. P. 4 (1))

           This summons for (name of individual and tide, if any)
was received by me on (date)


           O I personally served the summons on the individual at (place)               C. 4
                                                                                               7    <:rS           -J*f          ^ l\J
              C if                                                                  on (dale) 7-3 -                       ; or


           □ I left the summons at the individual’s residence or usual place of abode with (name)

                                                                  , a person of suitable age and discretion who resides there,
           on (dale)                               , and mailed a copy to the individual’s last known address; or

           □ I served the summons on (name of individual)                                                                           , who is
                                                                               ,7
            designated by law to accept service of process on behalf of (name oforganization)


                                                    6 My                            on (date) ^ * 3 V Xy                  ; or


           □ 1 returned the summons unexecuted because                                                                                   ; or



           O Other (specify):




           My fees are S                           for travel and S                    for services, for a total of $            0.00




           I declare under penalty of perjury that this information is true.



Date:      "7- 3                                                                                Un
                                                                                            Server's signature



                                                                             -y           Printed name and title




                                                                                             Server's address



Additional information regarding attempted service, etc:




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